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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

ELIZABETH SINES, SETH WISPELWEY,
MARISSA BLAIR, TYLER MAGILL, APRIL
MUNIZ, HANNAH PEARCE, MARCUS
MARTIN, NATALIE ROMERO, CHELSEA
ALVARADO, and JOHN DOE

Plaintiffs,
Vv. Civil Action No.: 3:17CV00072

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES ALEX
FIELDS, JR., VANGUARD AMERICA,
ANDREW ANGLIN, MOONBASE

HOLDINGS, LLC, ROBERT “AZZMADOR”
RAY, NATHAN DAMIGO, ELLIOTT

KLINE a/k/a EL] MOSELEY, IDENTITY
EVROPA, MATTHEW HEIMBACH, MATTHEW
PARROTT a/k/a DAVID MATTHEW PARROTT,
TRADITIONALIST WORKER PARTY,
MICHAEL HILL, MICHAEL TUBBS, LEAGUE
OF THE SOUTH, JEFF SCHOEP, NATIONAL
SOCIALIST MOVEMENT, NATIONALIST
FRONT, AUGUSTUS SOL INVICTUS,
FRATERNAL ORDER OF THE ALT-KNIGHTS,
MICHAEL “ENOCH” PEINOVICH, LOYAL
WHITE KNIGHTS OF THE KU KLUX KLAN,
and EAST COAST KNIGHTS OF THE KU KLUX
KLAN a/k/a EAST COAST KNIGHTS OF THE
TRUE INVISIBLE EMPIRE,

Defendants.
ANSWER TO SECOND AMENDED COMPLAINT
COMES NOW the Defendant, James Alex Fields, Jr., (“Fields"), by counsel, as and for his
Answer to the Second Amended Complaint filed against him herein, and in support thereof states as

follows:
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1. In response to Paragraph | of the Complaint, Fields admits only that he traveled to
Charlottesville, Virginia to attend the Unite the Right rally. Otherwise denied as to Fields. He does
not have sufficient information to respond to allegations as to the actions and intent of others.

2. In response to Paragraph 2, Fields does not have sufficient information to admit or
deny these allegations.

3. Fields denies the allegations in Paragraph 3 as to him. He does not have sufficient
information to respond to allegations as to the intent of others.

4, Fields denies the allegations in Paragraph 4 as to him. He does not have sufficient
information to respond to allegations as to the intent of others.

5. Fields denies the allegations in Paragraph 5 as to him. He does not have sufficient
information to respond to allegations as to the intent of others.

6. Fieids denies the allegations in Paragraph 6 as to him. He does not have sufficient
information to respond to allegations as to the intent of others.

7. Paragraph 7 contains no allegations as to Fields and should require no response. To
the extent a further response is deemed required, denied.

JURISDICTION AND VENUE

8. Fields admits jurisdiction is proper.
9. Fields admits venue is proper.
THE PARTIES

A. Plaintiffs
10. Fields does not have sufficient information to admit or deny the allegations of

Paragraphs 10.
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11. Fields denies the allegations in Paragraph 1] as to him with the exception that Fields
asserts and relies upon his 5" Amendment Right of the US Constitution against self-incrimination as
to the allegation he intentionally drove into a crowd of protestors. He does not have sufficient
information to respond to allegations as to the intent or acts of others or to the statements about this
Plaintiff's background and/or alleged injuries and symptoms.

12. Fields denies the allegations in Paragraph 12 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others, the statements about this
Plaintiffs actions and background, or the alleged injuries, limitations, and symptoms.

13. Fields denies the allegations in Paragraph 13 as to him. He does not have sufficient
information to respond to allegations as to the intent or actions of others or this Plaintiff's actions
and alleged injuries or damages.

14. Fields denies the allegations in Paragraph 14 as to him with the exception that Fields
asserts and relies upon his 5" Amendment Right of the US Constitution against self-incrimination as
to the allegation he drove a car into a crowd. He does not have sufficient information to respond to
allegations as to the intent or acts of others or to this Plaintiff's claims regarding her actions and
alleged injuries.

15. Fields does not have sufficient information to respond to the allegations in Paragraph
15 as to him, with the exception that Fields asserts and relies upon his 5" Amendment Right of the
US Constitution against self-incrimination as to the allegation he drove his car into a crowd of
protestors.

16. Fields denies the allegations in Paragraph 16 as to him with the exception that Fields
asserts and relies upon his 5 Amendment Right of the US Constitution against self-incrimination as

to the allegation he drove his car into a crowd of protestors in an act of domestic terrorism. He does

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not have sufficient information to respond to allegations as to the intent or acts of others or
Plaintiff's alleged injuries and damages.

17. Fields does not have sufficient information to admit or deny allegations in Paragraph
17 as to him with the exception that Fields asserts and relies upon his 5"" Amendment Right of the
US Constitution against self-incrimination as to the allegation he intentionally drove a car into a
crowd of protestors in an act of domestic terrorism.

18. Fields does not have sufficient information to admit or deny allegations in Paragraph
18 as to him, with the exception that Fields asserts and relies upon his 5" Amendment Right of the
US Constitution against self-incrimination as to the allegation he intentionally drove a car into a
crowd of protestors in an act of domestic terrorism.

19. Fields does not have sufficient information to admit or deny allegations in Paragraph
19 as to him with the exception that asserts and relies upon his 5” Amendment Right of the US
Constitution against self-incrimination as to the allegations he drove into the crowd and rammed

Baker with his car.

B. Defendants
20. Paragraph 20 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these

allegations.

21. Paragraph 21 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these

allegations.
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22. Paragraph 22 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, denied.

23. Inresponse to Paragraph 23, Fields admits he is a resident of Ohio. Fields denies he
is or was a member of Vanguard America. Fields denies he conspired with any other Defendant or
participated in a conspiracy. Fields asserts and relies upon his 5" Amendment Right of the US
Constitution against self-incrimination regarding the allegation he drove his Dodge Challenger into a
crowd of protesters. He admits he has been charged with the crimes alleged in this paragraph and
other charges.

24. In response to Paragraph 24, Fields denies any allegations that might be interpreted as
to him. He denies that he was or is a member of this group but admits someone handed him a shield
at the rally and that he carried the shield for portions of the rally. Otherwise denied. Fields does not
have sufficient information to respond to allegations as to the intent or acts of others.

25, Paragraph 25 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

26. Paragraph 26 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

27, Paragraph 27 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these

allegations
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28. Paragraph 28 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

29, Paragraph 29 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

30. Paragraph 30 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

31. Paragraph 31 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

32. Paragraph 32 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

33. Paragraph 33 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

34. Paragraph 34 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these

allegations.
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35. Paragraph 35 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

36. Paragraph 36 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

37. Paragraph 37 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

38. Paragraph 38 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

39, Paragraph 39 1s not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

40. Paragraph 40 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

41. Paragraph 41 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these

allegations.
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42. Paragraph 42 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

43. Paragraph 43 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

FACTS

44, Fields denies the allegations in Paragraph 44 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

45, Fields denies the allegations in Paragraph 45 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others,

46. Fields denies the allegations in Paragraph 46 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

47. Fields denies the allegations in Paragraph 47 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

48. Fields denies the allegations in Paragraph 48 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

49. Fields denies the allegations in Paragraph 49 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

50. Fields denies the allegations in Paragraph 50 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.
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51. Fields denies the allegations in Paragraph 51 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others,

§2. Fields denies the allegations in Paragraph 52 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

53. Fields denies the allegations in Paragraph 53 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

54. Fields denies the allegations in Paragraph 54 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

55. Fieids denies the allegations in Paragraph 55 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

56. Fields denies the allegations in Paragraph 56 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

57. Paragraph 57 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields asserts and relies upon his 5" Amendment Right of the
US Constitution against seli-incrimination as to the conclusory phrase that might be deemed an
allegation that Field’s committed an act of domestic terror.

58. Paragraph 58 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

59, Fields denies the allegations in Paragraph 59 as to him with the exception that he
asserts and relies upon his 5" Amendment Right of the US Constitution against self-incrimination as
to any allegation that he committed violence or unlawful acts. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

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60. Fields denies the allegations in Paragraph 60 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

61. Paragraph 61 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

62. Fields denies the allegations in Paragraph 62 as to him with the exception that he
asserts and relies upon his 5" Amendment Right of the US Constitution against self-incrimination as
to any allegation that he committed unlawful acts that injured Plaintiffs. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

63. Paragraph 63 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

64. —_ Paragraph 64 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

65. Paragraph 65 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

66. Paragraph 66 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

67. Fields denies the allegations in Paragraph 67 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

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68. Fields denies the allegations in Paragraph 68 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

69. Fields denies the allegations in Paragraph 69 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

70. Fields denies the allegations in Paragraph 70 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

71. Fields does not have sufficient information to respond to allegations as to the intent or
acts of others alleged in Paragraph 71. Fields denies he established or helped establish or
communicated on any such Discord server.

72. Paragraph 72 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

73. Fields denies the allegations in Paragraph 73 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

74. Fields denies the allegations in Paragraph 74 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

75. Fields does not have sufficient information to respond to allegations in Paragraph 75.

Fields denies he established or helped establish or communicated on any such Discord server.

76. Fields denies the allegations in Paragraph 76 to the extent they are attributed to him.
He does not have sufficient information to respond to allegations as to the intent or acts of others.

77. Fields denies the allegations in Paragraph 77 to the extent they are attributed to him.

He does not have sufficient information to respond to allegations as to the intent or acts of others.

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78. Fields denies the allegations in Paragraph 78 to the extent they are attributed to him.
He does not have sufficient information to respond to allegations as to the intent or acts of others.

79. Fields denies the allegations in Paragraph 79 to the extent they are attributed to him.
He does not have sufficient information to respond to allegations as to the intent or acts of others.

80. Fields denies the allegations in Paragraph 80 to the extent they are attributed to him.
He does not have sufficient information to respond to allegations as to the intent or acts of others.

81. Paragraph 81 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

82. Paragraph 82 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

83. Paragraph 83 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

84. Paragraph 84 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

85. Paragraph 85 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these

allegations.

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86. Paragraph 86 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

87. Paragraph 87 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

88. Paragraph 88 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

89. Paragraph 89 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

90. Paragraph 90 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields admits upon information and belief that such a poster
was made public in some form.

9]. Paragraph 91 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

92. Paragraph 92 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these

allegations.

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93. Paragraph 93 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

94. Paragraph 94 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

95, Fields denies the allegations in Paragraph 95 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

96. Paragraph 96 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

97, Fields denies any allegations in Paragraph 97 that he conspired with others or had any
strategy related to the Rally. He does not have sufficient information to respond to allegations as to
the intent or acts of others.

98. Paragraph 98 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

99, Paragraph 99 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

100. Paragraph 100 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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101. Fields denies the allegations in Paragraph 101 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

102. Paragraph 102 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

103. Fields denies Paragraph 103 as to him. He does not have sufficient information to
respond as to the actions or intents of others.

104. Paragraph 104 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

105. Fields denies the allegations of Paragraph 105 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others,

106. Paragraph 106 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

107. Paragraph 107 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

108. Fields denies the allegations in Paragraph 108 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

109. Paragraph 109 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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110. Paragraph 110 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

111. Paragraph 111 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

112. Paragraph 112 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

113. Paragraph 113 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

114. Paragraph 114 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

115. Paragraph 115 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

116. Paragraph 116 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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117. Paragraph 117 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

118. Fields denies the allegations in Paragraph 118 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

119, Fields denies the allegations in Paragraph 119 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

120. Fields denies the allegations in Paragraph 120 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others

121. Fields denies the allegations in Paragraph 121 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

122. Paragraph 122 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to
determine what was the “official” poster for the event.

123. Fields denies the allegations in Paragraph 123 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

124. Fields denies the allegations in Paragraph 124 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

125. Paragraph 125 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to allegations as to the intent or acts of others.

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126. Paragraph 126 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

127, Paragraph 127 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

128. Paragraph 128 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

129. Inresponse to Paragraph 129, Fields admits only that he met with other attendees for
travel to the event after he arrived in Charlottesville, Virginia. Fields does not have sufficient
information to respond to allegations regarding the actions and intents of others.

130. Paragraph 130 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

131. Paragraph 131 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

132. Paragraph 132 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations as to the thoughts, actions and intents of others.

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133. Paragraph 133 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fieids does not have sufficient information to respond
to these allegations.

134. Fields denies the allegations in Paragraph 134 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

135. Paragraph 135 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

136. Paragraph 136 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

137. Paragraph 137 1s not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

138. Paragraph 138 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

139. Fields denies the allegations in Paragraph 139 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

140. Paragraph 140 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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141. Fields demes the allegations in Paragraph 141 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

142. Fields denies the allegations in Paragraph 142 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

143. Fields denies the allegations in Paragraph 143 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

144. Fields denies the allegations in Paragraph 144 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

145. Paragraph 145 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

146. Fields denies the allegations in Paragraph 146 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

147. Paragraph 147 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

148. Fields denies the allegations in Paragraph 148 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others,

149. Fields denies the allegations in Paragraph 149 as to him. He does not have sufficient
information to respond to allegations as to the intent or acts of others.

150. Paragraph 150 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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151. Paragraph 151 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

152. Fields denies Paragraph 152 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

153. Paragraph 153 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

154. Paragraph 154 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

155. Paragraph 155 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

156. Fields denies Paragraph 156 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

157. Fields denies Paragraph 157 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

158. Fields denies Paragraph 158 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

159. Paragraph 159 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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160. Paragraph 160 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

161. Fields denies Paragraph 161 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

162. Fields denies Paragraph 162 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

163. Fields denies Paragraph 163 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

164. Fields denies Paragraph 164 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

165. Fields denies Paragraph 165 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

166. Paragraph 166 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

167. Fields denies Paragraph 167 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

168. Fields denies Paragraph 168 as to him. To the extent a further response is deemed
required, he does not have sufficient information to respond to allegations as to the intent or acts of

others nor to the mental state of Plaintiffs.

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169. Paragraph 169 1s not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

170. Paragraph 170 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

171. Fields denies Paragraph 171 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others nor to the mental state of Plaintiffs.

172. Fields denies Paragraph 172 as to him. To the extent a further response is deemed
required, he does not have sufficient information to respond to allegations as to the intent or acts of
others nor to the mental state of Plaintiffs.

173. Paragraph 173 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations but denies he attend the march and avers he was not present in Virginia at this
time.

174. Fields denies Paragraph 174 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

175. Fields denies Paragraph 175 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others nor to the mental state or observation of
Plaintiff.

176. Paragraph 176 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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177. Fields denies Paragraph 177 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others nor to the mental state or observation of
Plaintiff.

178. Fields denies Paragraph 178 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others nor to the mental state or observation of
Plaintiff.

179. Paragraph 179 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

180. Paragraph 180 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

181. Paragraph 181 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

182. Paragraph 182 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

183. Paragraph 183 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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184. Paragraph 184 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

185. Paragraph 185 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

186, Fields denies the allegations of Paragraph 186 as to him with the exception that he
asserts and relies upon his 5" Amendment Right of the US Constitution against self-incrimination as
to allegations he participated in violent events. He does not have sufficient information to respond to
allegations as to the intent or acts of others.

187. Fields denies Paragraph 187 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

188. Paragraph 188 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

189. Paragraph 189 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

190. Paragraph 190 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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191. Paragraph 191 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

192. Inresponse to Paragraph 192, Fields denies he knew any intimidating, threatening or
otherwise illegal conduct was being planned or coordinated.

193. Fields denies Paragraph 193 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others and did not have any knowledge of any plan
formulated by Chief Thomas or others.

194. In response to Paragraph 194, Fields admits he walked to the Park with a group of
people. Someone he did not know handed him a shield. Otherwise denied as to Fields.

195. Paragraph 195 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations. Fields was not a member of any organization associated with the rally.

196. In response to Paragraph 196, Fields admits he walked to the Park with a group of
people he did not previously know. Someone he did not know handed him a shield. Otherwise
denied as to Fields.

197, Paragraph 197 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

198. Paragraph 198 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Ficids does not have sufficient information to respond

to these allegations.

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199, Paragraph 199 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

200. Fields denies Paragraph 200 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

201. Fields denies Paragraph 201 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

202. Paragraph 202 is not addressed to Fields and should require no response. To the extent
a further response is deemed required, Fields does not have sufficient information to respond to these
allegations.

203. Paragraph 203 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

204, Paragraph 204 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

205. Paragraph 205 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields denies he was in military attire or possessed a
rifle or pistol at any point and does not have sufficient information to respond to the remaining
allegations.

206. Fields denies Paragraph 206 as to him. He does not have sufficient information to

respond to allegations as to the intent or acts of others.

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207. Fields denies Paragraph 207 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

208. Fields denies Paragraph 208 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

209. Fields denies Paragraph 209 as to him. He does not have sufficient information to
respond to allegations as to the intent, perceptions, or acts of others.

210. Fields denies Paragraph 210 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others

211. Fields denies the allegations of Paragraph 211 as to him. He does not have sufficient
information to respond to these allegations as to others.

212. Paragraph 212 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations as to others.

213. Paragraph 213 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations as to others

214. Fields denies the allegations of Paragraph 214 as to him. Fields does not have
sufficient information to respond to these allegations as to others.

215. Fields denies Paragraph 215 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

216. Fields denies Paragraph 216 as to him. He does not have sufficient information to

respond to allegations as to the intent or acts of others.

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217. Paragraph 217 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

218. Paragraph 218 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

219. Paragraph 219 Paragraph is not addressed to Fields and should require no response.
To the extent a further response is deemed required, Fields does not have sufficient information to
respond to these allegations as to others.

220, Fields denies Paragraph 220 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

221. Fields denies Paragraph 221 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

222. In response to Paragraph 222 and upon information and belief, Fields admits the rally
was declared an unlawful assembly. At the time, he was not aware of this declaration. He further
denies that this declaration was made due any act or acts or intentions on his part.

223. Upon information and belief and in response to Paragraph 223, Fields admits that
Governor McAuliffe declared a state of emergency. At the time, he was not aware of this
declaration. Fields does not have sufficient information to admit or deny the quote attributed to
Governor McAuliffe in this paragraph.

224. Paragraph 224 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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225. Fields denies Paragraph 225 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

226. Paragraph 226 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

227. Paragraph 227 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

228. Paragraph 228 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

229, Paragraph 229 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

230. Fields denies Paragraph 230 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

231. Paragraph 231 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations

232. In response to Paragraph 232, Fields denies he planned violent actions or knew
violent actions were being planned.

233. Fields denies Paragraph 233 as to him. He does not have sufficient information to

respond to allegations as to the intent or acts of others.

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234, Fields denies Paragraph 234 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

235. Fields denies Paragraph 235 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others or what is a “popular anti-Black lives Matter
and anti-racial justice protest catchphrase.” The remaining allegations are not addressed to Fields
and should require no response.

236. Paragraph 236 is not addressed to Fields and should require no response. Should a
further response be deemed required, he does not have sufficient information to respond to
allegations as to the intent or acts of others.

237. Paragraph 237 is not addressed to Fields and should require no response. He does not
have sufficient information to respond to allegations as to the intent or acts of others.

238. Paragraph 238 is not addressed to Fields and should require no response. He does not
have sufficient information to respond to allegations as to the intent or acts of others.

239. Paragraph 239 is not addressed to Fields and should require no response. He does not
have sufficient information to respond to allegations as to the intent or acts of others.

240. Fields denies Paragraph 241 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

241. In response to Paragraph 241, Fields denies he participated in any conspiracy. He
asserts and relies upon his 5" Amendment Right of the US Constitution against self-incrimination as
to the remaining allegations of Paragraph 241.

242. Fields asserts and relies upon his 5 Amendment Right of the US Constitution against
self-incrimination to the allegations of Paragraph 242. He does not have sufficient information to

respond to allegations as to the intent, location, or acts of others.

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243. Fields does not have sufficient information to admit or deny the allegations of
Paragraph 243,

244, Paragraph 244 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

245, Paragraph 245 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

246, Paragraph 246 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

247. Paragraph 247 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

248. Fields asserts and relies upon his 5" Amendment Right of the US Constitution against
self-incrimination in response to the allegations of Paragraph 248.

249. Fields does not have sufficient information to respond to the allegations in Paragraph
249.

250. Fields does not have sufficient information to respond to the allegations in Paragraph
250.

251. Inresponse to Paragraph 251, Fields asserts and relies upon his 5" Amendment Right
of the US Constitution against self-incrimination as to the allegations he precipitated an attack.

Fields does not have sufficient information to respond to these allegations.

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252. Fields asserts and relies upon his 5" Amendment Right of the US Constitution against
self-incrimination as to the allegations of Paragraph 252.

253. Paragraph 253 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

254. Fields asserts and relies upon his 5" Amendment Right of the US Constitution against
self-incrimination as to the allegations of Paragraph 254.

255. Paragraph 255 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

256. Paragraph 256 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

257, Paragraph 257 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

258. Paragraph 258 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

259. Fields denies the allegations in Paragraph 259 as to him. He does not have sufficient

information to respond to allegations as to the intent or acts of others.

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260. Paragraph 260 is not addressed to Fields and should require no response. To the
extent a further response 1s deemed required, Fields does not have sufficient information to respond
to these allegations,

261. Paragraph 261 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

262. Fields denies the allegations of Paragraph 262 as to him. Fields does not have
sufficient information to respond to these allegations as to others.

263. Paragraph 263 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

264. Paragraph 264 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

265. Paragraph 265 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

266. Inresponse to Paragraph 266, Fields denies he belongs to Vanguard America. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations,

267. Paragraph 267 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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268. Paragraph 268 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

269. Paragraph 269 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

270. Paragraph 270 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

271, Paragraph 271] is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

272. Paragraph 272 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

273. Paragraph 273 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

274. Fields asserts and relies upon his 5" Amendment Right of the US Constitution against
self-incnmination as to the allegations of Paragraph 274.

275. Paragraph 275 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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276. Paragraph 276 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

277, Paragraph 277 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

278. Inresponse to Paragraph 278, Fields asserts and relies upon his 5" Amendment Right
of the US Constitution against self-incrimination as to any allegations to his actions or intent. He
does not have sufficient information to respond to allegations as to the intent or acts of others.

279, Paragraph 279 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

280. Inresponding to Paragraph 280, Fields admits upon information and belief only that
Congress passed a joint resolution as alleged.

281, Inresponding to Paragraph 281, Fields admits upon information and belief only that
this paragraph appears to accurately describe additional language in the joint resolution referenced in
Paragraph 280.

282. Fields admits Paragraph 282 upon information and belief.

283. Fields does not have sufficient information to admit or deny the allegations in
Paragraph 283.

284, Fields does not have sufficient information to admit or deny the allegations in

Paragraph 284.

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285. As to the allegations of Paragraph 285 as to him, Fields asserts and relies upon his 5”
Amendment Right of the US Constitution against sel f-incrimination. Fields does not have sufficient
information to admit or deny the remaining allegations in Paragraph 285.

286. As to the allegations of Paragraph 286 as to him, Fields asserts and relies upon his 5”
Amendment Right of the US Constitution against self-incrimination. Fields does not have sufficient
information to admit or deny the remaining allegations in Paragraph 286.

287, Fields does not have sufficient information to admit or deny the allegations in
Paragraph 287.

288. Fields does not have sufficient information to admit or deny the allegations of
Paragraph 288.

289. Fields does not have sufficient information to admit or deny the allegations in
Paragraph 289.

290. As to the allegations of Paragraph 290 as to him, Fields asserts and relies upon his 5"
Amendment Right of the US Constitution against self-incrimination. Fields does not have sufficient
information to respond to the remaining allegations.

291. Fields does not have sufficient information to admit or deny the allegations in
Paragraph 291.

292. Fields does not have sufficient information to admit or deny the allegations in
Paragraph 292.

293. Fields does not have sufficient information to admit or deny the allegations of
Paragraph 293.

294, Fields does not have sufficient information to admit or deny the allegations in

Paragraph 294.

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295. Fields denies the allegations of Paragraph 295 as to him. He does not have sufficient
information to admit or deny the allegations as to others.

296. Fields denies Paragraph 296 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

297. Paragraph 297 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

298. Paragraph 298 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

299, Paragraph 299 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

300. Paragraph 300 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

301. Paragraph 301 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

302. Fields denies Paragraph 302 as to him. He does not have sufficient information to

respond to allegations as to the intent or acts of others.

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303. Paragraph 303 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

304. Paragraph 304 is not addressed to Fields and should require no response. He does
not have sufficient information to respond to the remaining allegations

305. Fields denies Paragraph 305 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

306. Paragraph 306 is not addressed to Fields and should require no response. Fields does
not have sufficient information to response to the allegations as to others.

307. Fields denies Paragraph 307 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

308. Paragraph 308 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

309. Paragraph 309 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

310. Paragraph 310 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

311. Fields denies the allegations of Paragraph 311 as to him. He does not have sufficient

information to respond to the remaining allegations.

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312. Paragraph 312 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

313. Fields denies the allegations of Paragraph 313 as to him. He does not have sufficient
information to respond to the remaining allegations as to others.

3154 Paragraph 314 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations,

315. Paragraph 315 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations

316. Paragraph 316 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

317. Paragraph 317 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

318. Paragraph 318 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

319, Paragraph 319 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations,

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320, Paragraph 320 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

321. Paragraph 321 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

322. Paragraph 322 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

323. Paragraph 323 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

324. Paragraph 324 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

325. Paragraph 325 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

326. Paragraph 326 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond

to these allegations.

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3287 Paragraph 327 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

328. Paragraph 328 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

329. Paragraph 329 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

330. Paragraph 330 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations as to others but denies he attended this event.

331. In response to Paragraph 331, Fields admits that he attended the event in
Charlottesville; was wearing a white polo shirt (that did not have the Vanguard logo on it) and
khakis; and was carrying an object with the Vanguard logo for some portions of the event. As to the
allegations of engaging in violence, Fields asserts and relies upon his 5” Amendment Right of the
US Constitution against self-incrimination.

332. Paragraph 332 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

333. Fields denies Paragraph 333 as to him. He does not have sufficient information to

respond to allegations as to the intent or acts of others.

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334. In response to Paragraph 334, Fields asserts and relies upon his 5” Amendment Right
of the US Constitution against self-incrimination.

335. In response to Paragraph 335, Fields incorporates the responses in all preceding
paragraphs.

336. Paragraph 336 contains no allegations as to Fields and should require no response.

337. As to allegations he plotted, coordinated or executed a plan, Fields denies Paragraph
337 as to him. He does not have sufficient information to respond to allegations as to the intent or
acts of others. To the extent this Paragraph may be interpreted to contain allegations that Fields
committed violence, Fields asserts and relies upon his 5“ Amendment Right of the US Constitution
against self-incrimination.

338.  Asto allegations he conspired, plotted or coordinated any acts of others, Fields denies
Paragraph 338 as to him. He does not have sufficient information to respond to allegations as to the
intent or acts of others. To the extent this Paragraph may be interpreted to contain allegations that
Fields committed an act of violence, Fields asserts and relies upon his 5" Amendment Right of the
US Constitution against self-incrimination.

339. Fields denies Paragraph 339 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others

340. Paragraph 340 is not addressed to Fields and should require no response. To the
extent a further response is deemed required, Fields does not have sufficient information to respond
to these allegations.

341. Fields denies Paragraph 341 as to him. He does not have sufficient information to

respond to allegations as to the intent or acts of others.

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342. As to any allegations he plotted, coordinated, conspired or executed a plan, Fields
denies Paragraph 342 as to him. He does not have sufficient information to respond to allegations as
to the intent or acts of others or alleged injuries or damages claimed by Plaintiffs. To the extent this
Paragraph may be interpreted to contain allegations that Fields committed violence or caused injury,
Fields asserts and relies upon his 5" Amendment Right of the US Constitution against self-
incrimination.

343, Fields denies Paragraph 343 as to actions allegedly performed by him. He does not
have sufficient information to respond to allegations as to the intent or acts of others or alleged
injuries or damages claimed by Plaintiffs.

344. In response to Paragraph 344, Fields incorporates the responses in all preceding
paragraphs.

345. Paragraph 345 contains no allegations as to Fields and should require no response.

346. Fields denies Paragraph 346 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

347. Fields denies Paragraph 347 as to him. He does not have sufficient information to
respond to allegations as to the intent or acts of others.

348. In response to Paragraph 348, Fields denies he was aware of any conspiracy or overt
acts alleged to have been committed in furtherance of the conspiracy. Further, Fields does not have
sufficient information to respond to the allegations of injuries claimed by Plaintiffs.

349. Fields denies Paragraph 349 as to him. He does not have sufficient information to
respond to the allegations as to the intent or acts of others.

350. Fields denies Paragraph 350 as to him. He does not have sufficient information to

respond to allegations as to the intent or acts of others or the alleged injuries claimed by Plaintiffs.

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351. In response to Paragraph 351, Fields incorporates the responses in all preceding
paragraphs.

352. Paragraph 352 contains no allegations as to Fields and should require no response.

353. Fields denies conspiring with another as alleged in Paragraph 351 including all
subparts (a~r)} as to him. He does not have sufficient information to respond to allegations as to the
intent or acts of others. As to any allegations he committed any act or acts of violence based on
racial, religious, or ethnic animosity, Fields asserts and relies upon his 5 Amendment Right of the
US Constitution against self-incrimination.

354. In response to Paragraph 354, Fields denies he committed any act or acts in
furtherance of a conspiracy. He does not have sufficient information to respond to allegations as to
the intent or acts of others or the alleged damages claimed by Plaintiffs and demands strict proof
thereof.

355. Fields denies Paragraph 355 as to him, denies he is liable to Plaintiffs for actions of
any other individual, and denies he acted in pursuit of a common conspiratorial scheme.

356. In response to Paragraph 356, Fields incorporates the responses in all preceding
paragraphs.

357. Fields admits Paragraph 357 is a generally correct summation of the cited Virginia
code section.

358. Fields admits Paragraph 358 is a partially correct summation of the definition of “act
of terrorism” in the cited Virginia code section.

359. Fields does not have sufficient information to respond to the allegations of Paragraph

359.

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360. In response to the allegations of Paragraph 360, Fields asserts and relies upon his 5"
Amendment Right of the US Constitution against self-incrimination. Fields further denies that he
had any intent to intimidate or otherwise affect the civilian population at large.

361. Fields denies he violated the statute and otherwise does not have sufficient
information to respond to the allegations of Paragraph 361. Fields further avers that the cited statute
does not create a civil cause of action.

362. Fields does not have sufficient information to respond to the allegations of Paragraph
362 including either the legislative intent or the Plaintiff's alleged injuries.

363. Fields denies Paragraph 363.

364. In response to Paragraph 364, Fields incorporates the responses in all preceding
paragraphs.

365. Fields admits Paragraph 365 is an accurate summation of the cited Virginia code
section,

366. In response to the allegations of violence as to him in Paragraph 366, Fields asserts
and relies upon his 5 Amendment Right of the US Constitution against self-incrimination, He does
not have sufficient information to respond to allegations as to the intent or acts of others or the
alleged injuries claimed by Plaintiffs.

367. Inresponse to the allegations of violence as to him in Paragraph 367, Fields asserts
and relies upon his 5" Amendment Right of the US Constitution against self-incrimination. He does
not have sufficient information to respond to allegations as to the intent or acts of others or the
alleged injuries claimed by Plaintiffs.

368. In response to Paragraph 368, Fields incorporates the responses in all preceding
paragraphs.

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369. In response to the allegations of Paragraph 369 as to him, Fields asserts and relies
upon his 5“ Amendment Right of the US Constitution against self-incrimination.

370. in response to Paragraph 370, Fields incorporates the responses in all preceding
paragraphs,

371. As to the allegations of Paragraph 371, Fields asserts and relies upon his 5%
Amendment Right of the US Constitution against self-incrimination.

372. Fields denies Paragraph 372 and demands strict proof thereof.

373. Fields denies Plaintiffs are entitled to the relief sought in Paragraph 373 as to him.

374. Fields denies Plaintiffs are entitled to the relief sought in Paragraph 374 as to him.

375. Fields denies Plaintiffs are entitled to the relief sought in Paragraph 375 as to him.

376. Fields denies Piaintiffs are entitled to the relief sought in Paragraph 376 as to him.

377. Fields denies Plaintiffs are entitled to the relief sought in Paragraph 377 as to him.

378. To the extent a response is deemed necessary, Fields denies all allegations not
specifically admitted including those encompassed in any headings and/or footnotes.

379. Fields will rely upon the defense that many of the actions sued upon were the result of
actions by others over whom Fields exercised no dominion or control.

380. Fields denies that Plaintiffs have been injured in the manner or to the extent alleged.

381. The Defendant respectfully demands a TRIAL BY JURY.

Respectfully submitted,

JAMES ALEX FIELDS, JR.
By Counsel

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CERTIFICATE OF SERVICE

 

Ihereby certify thaton 1 “day of October, 2019, | electronically filed the foregoing with

the Clerk of Court using the CM/ECF system which will send notification of such filing to the
following:

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Europa, Inc., and Christopher Cantwell

I further certify that on October 1, 2019, I also served the following non-ECF participants,
via U.S. mail, First class and postage prepaid as follows:

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